Document Number Case Number

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United States District Court
Western District of Wisconsin
Theresa M. Owens

Filed /Received

UNITED STATES DISTRICT COURT a

FOR THE
WESTERN DISTRICT OF WISCONSIN

 

TRENTON SCHEIBE,

Plaintiff,
Vv. Case No. 05-C-180-C
NATIONAL BOARD OF MEDICAL EXAMINERS,

Defendant.

 

AFFIDAVIT OF JOSEPH ABRAM DOANE

 

STATE OF PENNSYLVANIA )
) ss.
COUNTY OF )

I, Joseph Abram Doane, being first duly sworn on oath, depose and state that:

1. I am an adult resident of the state of New Jersey. I am Manager, Disability
Services and ADA Compliance Officer, Testing Programs, at the National Board of Medical
Examiners (“NBME”).

2. As Manager, Disability Services and ADA Compliance Officer, Testing
Programs, my duties include, among other things, operational responsibility for the subunit that
handles test accommodations processing and decision making.

3. The NBME is a private non-profit corporation with its principal office located in
Philadelphia, Pennsylvania, which, together with the Federation of State Medical Boards
(“FSMB”), has created the United States Medical Licensing Examination (“USMLE”). The

USMLE is an examination, the results of which are used by individual state medical licensing
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authorities to assess the qualifications of candidates for medical licensure.

4. The USMLE is an integral component of each state’s effort to ensure that only
competent and qualified individuals are licensed to practice medicine. All fifty states rely on the
USMLE to distinguish those individuals who are qualified to enter the profession from those
who are not qualified to become physicians. The NBME takes its role as the testing organization
for medical licensure seriously. Maintaining the integrity of the testing process is a critical part
of the NBME’s obligation to protect the public safety.

5. There are three phases of the USMLE, known as “Steps.” Step 1 assesses
whether an examinee can understand and apply important concepts of the sciences basic to the
practice of medicine. Generally, Step 1 is taken at the end of the second year of medical school.
Step 2 Clinical Knowledge (CK) assesses an examinee’s ability to apply medical knowledge,
skills and understanding of clinical science(s) essential for the provision of patient care under
supervision. Step 2 CK is generally taken during the student’s fourth year of medical school.
Step 3 assesses whether an examinee can apply medical knowledge and understanding of
biomedical and clinical science essential for the unsupervised practice of medicine. Step 3 is
often taken after receipt of a medical degree, usually during or after the first year of residency
training. Passage of all three Steps is accepted by all U.S. medical licensing authorities to satisfy
the examination requirements for licensure as a physician.

6. Steps 1 and 2 CK are offered year-round at test centers operated around the world
by Thomson Prometric (“Prometric”), the test-delivery vendor for the USMLE.

7. Step 3 is administered by Prometric at one or more facilities located throughout
the United States and its territories. To be eligible for Step 3, an individual seeking to register

for the exam (a “registrant”) must first meet the requirements for taking Step 3 set by the state
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medical board (“SMB”) to which he or she is applying for licensure as a physician, such as the
completion of any postgraduate training requirements. Each state has its own requirements which
registrants must meet to be eligible to sit for Step 3. Prior to taking Step 3, all registrants must
have obtained an MD or DO degree and must have passed both Steps 1 and 2 of the USMLE.

8. The NBME is responsible for ensuring that the USMLE is administered under
standard conditions to ensure the integrity of the scores and to protect the public’s interest in the
medical licensure process. For this reason, the NBME is responsible for ensuring that no
examinee or group of examinees receives an unfair advantage in the administration of the
examination(s).

9. With respect to Steps 1 and 2 of the USMLE, it is also the responsibility of the
NBME to ensure that persons with disabilities as defined by the Americans with Disabilities Act
(“ADA”) receive reasonable accommodations when they take Steps 1 and 2 of the USMLE. The
purpose of providing reasonable and appropriate accommodations is to afford registrants with
disabilities equal, not preferential, access to the examination process. The public thus should
have the benefit of the skills of qualified physicians who may be disabled, but should not be
subject to treatment by unqualified physicians.

10. With respect to Step 3, it is the responsibility of the particular SMB sponsoring
the registrant to sit for Step 3 to ensure that reasonable accommodations are made available to
persons with disabilities when they take Step 3, unless the SMB has formally authorized the
FSMB to act on the state’s behalf. Registrants requesting accommodations for Step 3 must
submit a request to the SMB (or the FSMB if appropriate) for such accommodation(s), which
refers the request to NBME for review and processing. NBME issues a recommendation

regarding the request for accommodation. The SMB (or FSMB) makes the decision whether or
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not to grant any requested accommodation for Step 3. The SMB (or FSMB) may accept or reject
the recommendation of the NBME in whole or part.

11. The NBME website provides detailed instructions and guidelines for registrants to
follow when applying for accommodations. Registrants who believe they are disabled and seek
reasonable accommodations for Step 1 or 2 CK are required to provide information to NBME
evidence of significant impairment relative to USMLE including but not limited to, information
regarding the nature of their disability, the impact of the impairment on their daily lives and tasks
relevant to USMLE, the type of accommodation sought and history of prior accommodations, if
any. In addition, registrants are required to provide to NBME documentation from qualified
professionals and others describing the disability and explaining the appropriateness of the type
of accommodations requested.

12. The Disability Services staff of the NBME (“Disability Services”) reviews and
processes requests for test accommodations for the USMLE.

13. Upon receipt of the required information from the registrant for a requested test
accommodation(s), NBME may consult with outside experts with expertise in the diagnosis and
treatment of the particular condition described by the registrant, to assist NBME in determining
whether the documentation submitted by the examinee supports the finding of a disability as
defined by the ADA or whether additional information is needed to make a decision.

14. The expert(s) conducts a thorough review of each assigned case and prepares a
detailed written report with recommendations to the NBME as to whether the documentation
supports a finding that the examinee is significantly impaired in a major life activity relevant to
the USMLE. Based on the review and recommendation of its experts and on internal review

NBME either grants or denies the request for accommodations on Step 1 or 2 CK, or requests
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additional information.

15. Trenton J. Scheibe (“Scheibe”) first requested a test accommodation for the
USMLE in January 2003.

16. Attached as Exhibit 1 is a true and correct copy of a Questionnaire for USMLE
Step 1 and 2 Applicants Requesting Test Accommodations completed by Scheibe and received
by Disability Services on January 13, 2003. In the Questionnaire, Scheibe requested an
accommodation of double testing time for Steps 1 and 2 due to a claimed reading disorder.

17. | The NBME’s website advises registrants seeking an accommodation on Steps 1 or
2 of the USMLE that relevant historical information regarding the individual’s academic history
should be submitted to support a request for test accommodation. Scheibe did not submit any
school records verifying childhood learning problems. Also, Scheibe did not submit any
personal statement in support of his first request for accommodation.

18. Attached as Exhibit 2 is a true and correct copy of a Certification of Prior Test
Accommodations received by Disability Services on January 13, 2003 in support of Scheibe’s
request for accommodation on Steps 1 and 2 of the USMLE. It shows that the University of
Texas at Houston Medical School first provided Scheibe with extended testing time in March of
2002.

19. Attached as Exhibit 3 is a true and correct copy of a Psychological Assessment
received by Disability Services from Scheibe on January 13, 2003. The Psychological
Assessment was conducted on September 21, 2001 and October 5, 2001, and lists Cynthia
Gonzalez, M.A. as the examiner. The assessment was signed by David Lachar, Ph.D.

20. Attached as Exhibit 4 is a true and correct copy of a letter dated January 14, 2003

from Disability Services to Scheibe verifying receipt of Scheibe’s request for test
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accommodations on Steps 1 and 2.

21. Disability Services referred Scheibe’s request for accommodation and supporting
documentation to Samuel O. Ortiz, Ph.D. for his review and recommendation as to the claimed
reading disorder. Attached as Exhibit 5 is a true and correct copy of the review Dr. Ortiz
provided to Disability services. Dr. Ortiz found that the data available did not support a
diagnosis of learning disability and recommended that Scheibe not receive the requested
accommodation.

22. Attached as Exhibit 6 is a true and correct copy of a letter from NBME to Scheibe
dated March 24, 2003, which informed Scheibe that NBME was unable to provide the requested
accommodation and set forth the reasons for that decision. In accordance with the opinion and
review of Dr. Ortiz, the NBME concluded that the documentation provided did not demonstrate
any cognitive or academic deficits that substantially limited Scheibe’s ability to read or learn.
Rather, the documentation showed that Scheibe’s performance on a range of cognitive and
academic tasks was in the range of average to well above average.

23. Scheibe passed Step 1 of the USMLE on January 29, 2004, without any test
accommodation.

24. Attached as Exhibit 7 is a true and correct copy of Scheibe’s second Request for
Test Accommodations received by Disability Services on October 25, 2004 requesting an
accommodation for Step 2 CK of the USMLE.

25. Attached as Exhibit 8 is a true and correct copy of a Neuropsychology Report
received by Disability Services from Scheibe on October 25, 2004. The report was dated August
25, 2004 and signed by Fred W. Theye, Ph.D.

26. Attached as Exhibit 9 is a true and correct copy of a letter dated October 19, 2004
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from Scheibe to the NBME in support of Scheibe’s request for accommodation on Step 2.

27. Attached as Exhibit 10 is a true and correct copy of academic transcripts and
standardized and diagnostic test results received by Disability Services from Scheibe on October
25, 2004 in support of Scheibe’s second request for test accommodation on Step 2. The
transcripts and test results span most of Scheibe’s academic career.

28. Attached as Exhibit 11 is a true and correct copy of a letter dated October 27,
2004 from Disability Services to Scheibe verifying receipt of Scheibe’s request for test
accommodation.

29. Attached as Exhibit 12 is a true and correct copy of a letter I sent to Scheibe dated
November 10, 2004. The letter requests that Dr. Theye provide age-based standard scores for all
Woodcock-Johnson III (WJ-IID) academic achievement tests and subtests administered during
Scheibe’s August 2004 evaluation.

30. Attached as Exhibit 13 is a true and correct copy of a letter From Dr. Theye to
Scheibe dated November 23, 2004, which Scheibe forwarded to NBME. The letter states that it
is in response NBME’s request for age-based standard scores for the WJ-III achievement test.

31. Attached as Exhibit 14 is a true and correct copy of a letter from Disability
Services to Scheibe dated December 7, 2004. The letter requests that Dr. Lachar provide scaled
scores from the Nelson-Denny Reading Test (NDRT). The letter also informs Scheibe that all
scores from the academic achievement tests for the 2001 evaluation should be reported using age
based norms where available. The reporting of age based norms is required by NBME for the
results of all tests submitted in support of a claimed learning or reading disability. Age-based
norms more closely approximate the average person in the general population than do grade

based norms. Grade-based norms are inappropriate for purposes of the ADA because the results
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compare to persons who have achieved the same or similar educational level as the examinee.

32. Attached as Exhibit 15 is a true and correct copy of an e-mail from Dr. Lachar to
Scheibe dated December 8, 2004, a hard copy of which was received by Disability Services from
Scheibe on December 14, 2004.

33. Attached as Exhibit 16 is a true and correct copy of a letter from Dr. Lachar to
Disability Services dated December 16, 2004. The letter states that it is in response to the
December 7, 2004 letter from Disability Services to Scheibe.

34. Disability Services referred Scheibe’s request for accommodation and supporting
documentation to Steven G. Zecker, Ph.D. for his review and recommendation as to the claimed
reading disorder. Attached as Exhibit 17 is a true and correct copy of Dr. Zecker’s review dated
January 18, 2005. Dr. Zecker found that the documentation provided by Scheibe did not show
evidence of a significant limitation in a major life activity in comparison to others of the same
age from the general population.

35. | Attached as Exhibit 18 is a true and correct copy of a letter I sent to Scheibe dated
January 24, 2005. The letter informed Scheibe that NBME would not grant the requested
accommodation on Step 2 of the USMLE. In accordance with the findings and recommendation
of Dr. Zecker, the NBME concluded that the documentation provided did not demonstrate that
Scheibe was substantially limited in a major life activity. The documentation instead showed
Scheibe demonstrated at least average performance on a range of cognitive and academic tasks
and did not show any deficits that substantially limited the ability to read or learn.

36. Scheibe passed Step 2 of the USMLE on February 8, 2005, without any
accommodation.

37. The only Step of the USMLE remaining for Scheibe to take is Step 3.
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38. Tomy knowledge, Scheibe has not applied to an SMB or the FSMB to sit for Step
3, nor requested any accommodation for Step 3. Whether Scheibe is eligible for Step 3 will
depend on his meeting the requirements of the particular SMB, if any, to which he applies for
licensure as a physician. A request for test accommodations for Step 3 cannot be considered

until Scheibe is sponsored by an SMB to take Step 3 and actually requests such accommodation.

I have read the above statement consisting of thirty eight (38) numbered paragraphs and

swear that the statements made therein are true and correct to the best of my personal knowledge.

s

Dated this @ day of haart , 2006.
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ov

J oft Abram‘Doane ~

sue and sworn fo before me

 

this day of “Aang , 2006.
VE le—
Notary Public

COMMONWEALTH OF PENNSYLVANIA
Notarial Seal
Patricia Weaver, Notary Public
City Of Philadelphia, Philadelphia County
My Commission Expires Nov. 16, 2009
Member, Pennsylvania Association of Notaries

 

 

 

 
